4:05-cr-03032-RGK-DLP   Doc # 72   Filed: 10/03/05   Page 1 of 1 - Page ID # 135



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:05CR3032
          v.                        )
                                    )
RICARDO PERALES,                    )
SILVANO MICHEL and                  )                    ORDER
JESSICA YVONNE SERVIN,              )
                                    )
                Defendants.         )
                                    )




     On the court’s own motion,

     IT IS ORDERED:

     The time of the suppression hearing on October 25, 2005 is

changed from 11:00 a.m. to 1:00 p.m.


     DATED this 3rd day of October, 2005.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
